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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                                Alexandria Division

    In re:

    J2K Corporation                                         Case No. 22-11179-KHK

    Debtor.                                                 (Chapter 7)

                           ORDER FOR DEBTOR TO APPEAR AND
                     SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED

             This case is before the Court pursuant to the Debtor’s Petition for relief under chapter 7 of the

Bankruptcy Code (Docket No. 1). It appearing that the purported Unanimous Consent of the Board of

Directors attached to the Petition does not authorize the filing of the above-captioned case1, and it

appearing necessary to do so, it is hereby

ORDERED:
             1.      A hearing on the Petition for relief under chapter 7 of the Bankruptcy Code (Docket No.

1) will be held on October 11, 2022 at 11:00 AM.

             2.      The Debtor shall appear at the hearing and show cause why this case should not be

dismissed.

             3.      The hearing will be conducted via video conference using Zoom for Government.

             4.      Parties who wish to appear and participate in the hearing must e-mail a completed

registration request form to EDVABK-ZOOM-Judge_Kindred@vaeb.uscourts.gov in accordance with

Judge Kindred’s procedures for appearing by Zoom for Government2.

             5.      The Clerk shall provide a copy of this order and notice of its entry to the parties listed

below.




                                      
1
  The purported Consent refers to the wrong corporation in the recitals, uses various undefined terms throughout and
is not signed by any director—it is signed by the purported President and CEO.
2
  Available at https://www.vaeb.uscourts.gov/wordpress/?s=temporary+emergency+hearings. 
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Date:   Sep 12 2022
        __________________                   /s/ Klinette H Kindred
                                             ___________________________
                                             Klinette H. Kindred
                                             United States Bankruptcy Judge
                                            Entered On Docket: Sep 12 2022



 Mailed copies to:                         Electronic copies to:

 J2K Corporation                           Janet M. Meiburger
 5673 Lierman Cir                          Chapter 7 Trustee
 Centreville, VA
 20120 Debtor                              Weon Geun Kim
                                           Debtor’s Counsel

                                           Office of the U.S. Trustee
